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                                   UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12                                                                         *E-FILED - 9/20/06*

13   UNITED STATES OF AMERICA,                     )       No. CR 06-00425 RMW
                                                   )
14          Plaintiff,                             )
                                                   )       STIPULATION AND
15              v.                                 )       ORDER EXCLUDING TIME
                                                   )
16   CHRISTINA MARIE FLORES, and                   )
     JOSE LITO CAMPOS,                             )
17                                                 )       SAN JOSE VENUE
            Defendants.                            )
18                                                 )
19
20      On August 28, 2006, the parties in this case appeared before the Court for an initial

21   appearance. The parties jointly requested that the case be continued to August 28, 2006 at 9:00

22   a.m. in order for both defense counsel to review the discovery in this case. In addition, the

23   parties requested an exclusion of time under the Speedy Trial Act from August 28, 2006 until

24   September 18, 2006. Defendant Flores, who was not present, agreed through her attorney, J.A.

25   Hudson, to the exclusion. Defendant Campos, who was present with his attorney Assistant

26   Federal Public Defender Cynthia Lie, also agreed to the exclusion. The parties agree and

27   stipulate that an exclusion of time is appropriate based on the defendant’s need for effective

28   preparation of counsel.


     STIPULATION AND ORDER
     NO . 06-00074 RMW                                 1
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1    SO STIPULATED:                                KEVIN V. RYAN
                                                   United States Attorney
2
3    DATED:                                        _______/s/__________________________
                                                   THOMAS M. O’CONNELL
4                                                  Assistant United States Attorney
5
     DATED:                                        _______/s/__________________________
6                                                  CYNTHIA C. LIE
                                                   Assistant Federal Public Defender
7                                                  Counsel for Mr. Campos
8
     DATED:                                        _______/s/__________________________
9                                                  J.A. HUDSON
                                                   Counsel for Ms. Flores
10
11
        Accordingly, for good cause shown, the Court HEREBY ORDERS that time be excluded
12
     under the Speedy Trial Act from August 28, 2006 until September 18, 2006. The Court finds,
13
     based on the aforementioned reasons, that the ends of justice served by granting the requested
14
     continuance outweigh the best interest of the public and the defendant in a speedy trial. The
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     failure to grant the requested continuance would deny defense counsel reasonable time necessary
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     for effective preparation, taking into account the exercise of due diligence, and would result in a
17
     miscarriage of justice. The Court therefore concludes that this exclusion of time should be made
18
     under 18 U.S.C. §§ 3161(h)(8)(A) and (B)(iv).
19
     SO ORDERED.
20
21
            9/20/06
     DATED:______________                           /S/ RONALD M. WHYTE
                                                   ________________________________________
22                                                 RONALD M. WHYTE
                                                   United States District Judge
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     STIPULATION AND ORDER
     NO . 06-00074 RMW                                2
